Case 2:19-cv-00332-UDJ-KK Document 1-1 Filed 03/14/19 Page 1 of 10 PageID #: 9


                                                                             Service of Process
vSA CT Corporation                                                           Transmittal
                                                                             02/15/2019
                                                                             CT Log Number 534934704
     TOs       Michael Johnson, Legal Assistant
               The Hartford
               1 Hartford Plz, HO-1-09
               Hartford, CT 06155-0001


     RE:        Process Served in Louisiana

     FOR:       Hartford Fire Insurance Company (Domestic State: CT)




                                                                                               AS FOLLOWS:
     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY


     TITLE OF ACTION:                    ROKESHIA GUILLORY, Pltf. vs. COURTNEY HAWKINS, et al., Dfts. // To: Hartford Fire
                                         Insurance Company

     DOCUMENT(S) SERVED:                 LETTER, CITATION, PETITION, REQUEST, ATTACH EMNT(S)

     COURT/AGENCY:                       CALCASIEU; 14TH JUDICIAL DISTRICT COURT, LA
                                         Case #2019000160

     NATURE OF ACTION:                   Insurance Litigation

     ON WHOM PROCESS WAS SERVED:         C T Corporation System, Baton Rouge, LA

     DATE AND HOUR OF SERVICE:           By Certified Mail on 02/15/2019 postmarked on 02/14/2019

     JURISDICTION SERVED :               Louisiana

     APPEARANCE OR ANSWER DUE:           Within 15 days after the service hereof (Document(s) may contain additional answer
                                         dates)

     ATTORN EY(S) / SENDER(S):           Timothy O'Dowd
                                         ODOWD LAW FIRM
                                         924 Hodges St.
                                         Lake Charles, LA 70601
                                         337-310-2304

     ACTION ITEMS:                       CT has retained the current log, Retain Date: 02/15/2019, Expected Purge Date:
                                         02/20/2019

                                         Image SOP

                                         Email Notification, Michael Johnson MICHAEL.JOHNSON@THEHARTFORD.COM

                                         Email Notification, Fiona Rosenberg Fiona.Rosenberg@thehartford.com


     SIGNED:                             C T Corporation System
     ADDRESS:                            3867 Plaza Tower Dr.
                                         Baton Rouge, LA 7081 6-4378
     TELEPHONE:                          954-473-5503




                                                                             Page 1 of 1 / AS

                                                                             Information displayed on this transmittal Is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This Information does not
                                                                              constitute a legal opinion as to the nature of action, the
                                                                              amount of damages, the answer date, or any Information
                                                                            .contained in the documents themselves. Recipient is
                                                                            ijssponstble for interpreting said documents and for taking
                                                          EXHIBIT              ipropriate action. Signatures on certified mall receipts
                                                                               nfirm receipt of package only, not contents.
Case 2:19-cv-00332-UDJ-KK Document 1-1 Filed 03/14/19 Page 2 of 10 PageIDUSPOSrAOEWmmiwa
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                               R. KYLE ARDOIN                       4
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                             SECRETARY OF STATE                     to
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                                   P.O. BOX 94125
                        BATON ROUGE, LA 70804-9125




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                                  HARTFORD FIRE INSURANCE COMPANY                        s




                                                                                                7018360 723089
                                                                                         r
                                  CIO CT CORPORATION SYSTEM
                                  3887 PLAZA TOWER DR                                    a

                                  BATON ROUGE, LA 70816                                   a



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                                  Suit No.: 181772
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     Case 2:19-cv-00332-UDJ-KK Document 1-1 Filed 03/14/19 Page 3 of 10 PageID #: 11
                                                    State of Louisiana
                                                     Secretary of State

                                                            « *
                                                                                                   Legal Services Section

                                                             02/14/2019                  P.O. Box 94125. Baton Rouge. LA 70804-9125
                                                                                                         {225)922-0415




     HARTFORD FIRE INSURANCE COMPANY
     C/O CT CORPORATION SYSTEM
     3867 PLAZA TOWER DR
     BATON ROUGE, LA 70816




     Suit No.: 20190160
     14TH JUDICIAL DISTRICT COURT
     CALCASIEU PARISH


     ROKESHlA GUILLORY
     VS

     COURTNEY HAWKINS, ET AL



     Dear Sir/Madam:

     I am enclosing a citation served in regard to the above entitled proceeding. If you are not the Intended recipient of
     this document, please return it to the above address with a letter of explanation. All other questions regarding this
     document should be addressed to the attorney that filed this proceeding.




                                                                                     Yours very truly,


                                                                                     R. KYLE ARDOIN
                                                                                     Secretary of State




Served on: R. KYLE ARDOIN                                              Date: 02/13/2019
Served by: E CUMMINS                                                   Title: DEPUTY SHERIFF




                                                                                                   No: 1107659



KS
Case 2:19-cv-00332-UDJ-KK Document 1-1 Filed 03/14/19 Page 4 of 10 PageID #: 12

                                                                        Citation
     ROKESHIA GUILLORY                                                                                                 Injudicial District Court
     VS.        2019-000160        .                                                                                             State of Louisiana
     COURTNEY HAWKINS                                                                                                           Parish of Calcasieu



     THE STATE OF LOUISIANA

     TO:      HARTFORD  FIRE INSURANCE
              COMPANY                                                                                                  SERVED ON
              THROUGH THE SECRETARY OF                                                                              R.KYLE ARDOIN

              THE STATE OF LOUISIANA
              8585 ARCHIVES AVENUE
                                                                                                                      FEB 1 3 2Q19
              Baton Rouge, LA 70809
                                                                                                                 SECRETARY OF STATE
                                                                                                                COMMERCIAL DIVISION
     Parish of East Baton Rouge, Louisiana, Defendant in said suit:

     YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply -with the demand contained in
     die petition of ROKESHIA GUILLORY,                    (PETITION        FOR DAMAGES-.)                 against you, certified copy of which
     petition accompanies this citation, or file your answers thereto in writing in the office of the Clerk of Court, at the Courthouse,
    .in die Gty of Lake Giarles, in said Parish, within fifteen (1 5) days after the service hereof under penalty of default

     Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 10th day ofJanuary 2019.


     Issued and delivered January 23, 2019




                                                                                           Byron Wilkinson
                                                                                           Deputy Cleric of Court


                                                          SERVICE INFORMATION

    Received on the            day of,                    20     . and on the            day of,                     20     served the above named
     part)' as follows;




    DOMICILIARY SF.RVICF. on the part)- herein named hv leaving the same at his domicile
    in die parish in die hands of                               a person apparently over die age of seventeen years, living and residing in
    said domicile and whose name and other facts connected with this service, I learned by interrogating the said person, said party herein
    being absent from his residence at the rime of said service.
    RETURNED:
    PARISH OF                                   this          day of.                        20


    SERVICE                                                    BY:
                                                                     Deputy Sheriff
    MILEAGE               $.

    TOTAL $.

    Parly No.        POOt




                                                                                     CMS6321                  755
                                                                                Piling Date 01/25/2019 10:48 AM Page Count: 1
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Case 2:19-cv-00332-UDJ-KK Document 1-1 Filed 03/14/19 Page 5 of 10 PageID #: 13




                 ROKESHIA GUILLORY                                                14™ JUDICIAL DISTRICT COURT


                 VS.                     /)//,/? ^                                PARISH OF CALCASIEU


                 COURTNEY HAWKINS, EZ WORLDWIDE
                 EXPRESS, UNITED BUSINESS FREIGHT
            '    FORWARDERS, LLC, HARTFORD FIRE                                   STATE OF LOUISIANA
                 INSURANCE COMPANY ami LOUISIANA
                 DEPARTMENT OF TRANSPORTATION
                 AND DEVELOPMENT



                 FILED:             JAN 1 0 2019                                  DY CLERK:



                                                      PETITION FOR DAMAGES
                                                 and REQUEST FOR TRIAL BY JURY



                             NOW COMES, ROKESHIA GUILLORY (R. GUILLORY), who, through undersigned

                 counsel respectfully represents:

                                                                        1.


                             Named as defendants herein are:

                             COURTNEY HAWKINS (C. HAWKINS), of age and domiciled at 7315 Surina Dr.,
                             Arlington, Tennessee, 38002, County of Shelby, State of Tennessee;

                             EZ WORLDWIDE SERVICES, INC. {EZ WORLDWIDE), a foreign corporation
                             domiciled at 669 Division Street, Elizabeth, New Jersey, 07201 with its agent for service
                             of process being Chunman Sing, 5940 Oak Ave., Temple City, CA 91780, County of Los
                             Angeles, State of California;

                             UNITED BUSINESS FREIGHT FORWARDERS, LLC (iUNITED% a foreign limited
                             liability company domiciled at 669 Division Street, Elizabeth, New Jersey, 07201 with its
                             agent for service of process being Registered Agents, Inc., 560 Haight St #104, County
                             of San Francisco, State of California;


                             HARTFORD FIRE INSURANCE COMPANY {HARTFORD), a foreign insurance
                             company authorized to do and doing business in the State of Louisiana, having appointed
                             as agent for service of process, Louisiana Secretary of State, 8585 Archives Ave., Baton
                             Rouge, Louisiana, 70809, Parish of East Baton Rouge.

                             LOUISIANA DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT
                             (DOTD), a political subdivision created under and by virtue of the laws of the State of
                             Louisiana, and domiciled in the City of Baton Rouge, Parish of East Baton Rouge, State
                             of Louisiana, with its agent for service of process being Jeff Landry, Attorney General,
                             State of Louisiana, 1885 North Third Street, Baton Rouge, Louisiana, '70802, Parish of      :
                             East Baton Rouge.                                                          •

                                                                        2.


                             On or about the Ist day of February 2018, RONNIE KESHAUN GUILLORY {Decedent),

                  a pedestrian, was involved in an accident with a 2016 Freightliner Cascadia owned by

                  Defendant, UNITED, and being driven by Defendant, C. HAWKINS, on 1-10 near Milepost

                  31.9, located in Calcasieu Parish, Louisiana, 70601 {the crash).        Decedent was severely and


                                                                      ge 1 of 6
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          permanently injured when Defendant, C. HAWKINS, struck him with the vehicle causing the


          impact. Decedent expired due to injuries sustained in the crash.                          .


                                                               3.


                   At the time of the accident, C. HAWKINS was acting within the course and scope of his


          employment with EZ WORLDWIDE.

                                                               4.


                   On information and belief Decedent survived the crash.

                                                               5.


                   As a result of the crash, Decedent experienced excruciating pain, suffering, and fear of

          death.


                                                               6.

                   As a result of the crash, R. GUILLORY has been, is being and will continue to suffer

          damages as follows:

             a.    Medical expenses past, present and future


             b. Lost wages past, present and future

             c.    Loss of support, affection, and care


             d.    Grief, past, present and future

             e.    Mental anguish past, present and future

             f.    Loss of enjoyment of life, past, present and future

                                                               7.


                   A proximate cause of the' injuries to Plaintiff was the negligence of Defendant C.

         HAWKINS, which negligence is particularized in the following non-exclusive respects:

             a. Failure to drive in a careful and prudent manner, so as not to endanger the life, limb, or
                   property of any person;


             b. Failure to see what he should have seen;

             c.    Failure to yield to a pedestrian;

             d. Failure to maintain control of his vehicle;

             e. Failure to follow regulations for commercial freight drivers;

             f.    Failure to take adequate safety measures in light of the circumstances;

             g. Failure, generally, to maintain the requisite standard of care in the above described
                   situation.




                                                          Page 2 of 6
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                                                              8.

                  On information and belief, at the time of the accident, theie was in foil force and effect, a

         .policy of general liability insurance issued by the defendant, HARTFORD, to and in favor of

          defendant, C. HAWKINS and/or the vehicle he was driving.

                                                             9.

                  HARTFORD is liable in sotido with C. HAWKINS, and other defendants sued herein.

                                                              10.

                  On information and beliefj at the time of the accident sued on, C. HAWKINS was acting


          within the course and scope ofhis employment with UNITED.




                                                              11.


                  DOTD had custody of the roadway, the shoulders, the medians, and the access roads at


          the location of the accident.

                                                              12.


                  The portion of Interstate 10 where the accident occurred was accessible to pedestrians

          and was a known pedestrian crossing.


                                                              13.

                  DOTD knew or should have known that the roadway was easily accessible to pedestrians,

          but it foiled to take corrective measures within a reasonable time.

                                                              14.


                  A proximate cause of the injuries to Plaintiff was foe negligence of Defendant, DOTD,

          which negligence is particularized in the following non-exclusive respects:

             a. Failure to act in a caiefol and prudent manner, so as not to endanger the life, limb, or
                  property of any person;


             b. Failure to warn pedestrians of foe dangerous condition;

             c.   Failure to prevent pedestrian access in foe area;

              d. Failure to warn drivers of pedestrians in the area;

             e.   Failure to prevent pedestrian foot traffic in the area;

             f.   Failure to control access to' an interstate highway;

              g. Failure to follow guidelines and regulations for maintenance of interstate highways;

              h. Failure to take adequate safety measures in light ofthe circumstances;


                                                        Page 3 of 6
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              i.   Failure, generally, to maintain the requisite standard of care in the above described
                   situation.

                                                              15.

                   R. GUQXORY came upon the scene of the crash soon thereafter and witnessed

          Decedent's lifeless body in the roadway.

                                                              16.

                   R. GUILLORY is Decedent's mother.

                                                              17.

                   Decedent had no spouse or children.
                                                              18.


                   R. GUILLORY suffered severe, debilitating, and foreseeable mental anguish and

          emotional distress as a result of the injuries suffered by Decedent.

                   WHEREFORE PETITIONER PRAYS:

             I.       THAT the defendants be cited and served and required to answer in accordance with
                      law; and     '


             H.       THAT after due proceedings are had that there be a judgment in favor of
                      ROKESHIA GUILLORY and against the defendants, in solido, holding them liable
                      for the injuries and damages described herein awarding all damages appropriate in the
                      premises, including but not limited to, general damages, special damages, costs,
                      interest, and all other relief appropriate in the premises.




                                                          Respectfully submitted,
                                                          O'DOWD LAW FIRM




                                                          TIM0TOY O'DOWD (#19084)
                                                          JARED W. SHUMAKER (#37872)
                                                          Attorneys at Law
                                                          924 Hodges St.
                                                          Lake Charles, LA 70601 '
                                                          (337)310-2304 - Telephone
                                                          (337)497-1999 - Facsimile
                                                          tim@odowdlaw.com
                                                          iared@odowdlaw.com




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                                                        Page 4 of 6
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            SERVICE INSTRUCTIONS:


            COURTNEY HAWKINS
            Via Long Arm Service
            73 IS SurinaDr.
            Arlington, Tennessee, 38002

            EZ WORLDWIDE SERVICES, INC.
            Via Long Arm Service
            Chunman Sing
            5940 Oak Ave.
            Temple City, CA 91780
            And
            EZ Worldwide Services, Inc.
        •   5940 Oak Ave.
            Temple City, CA 91780

            UNITED BUSINESS FREIGHT FORWARDERS, LLC
            Via Long Ann Service
            Registered Agents, Inc.
            560 Haight St. #104                                     '
            San Francisco, CA 941 17
            And
            United Business Freight Forwarders, LLC
            669 Division St.
            Elizabeth, NJ 07201

            HARTFORD FERE INSURANCE COMPANY
            Through its agentfor service ofprocess
            Louisiana Secretary of State
            8585 Archives Ave.
            Baton Rouge, LA 70809

            LOUISIANA DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT
            Through its agentfor service ofprocess
            Jeff Landry, Attorney General
            1885 North Third St.
            Baton Rouge, LA 70802
            And
            Dr. Shawn Wilson, Secretary of Department ofTransportation and Development
            1201 Capitol Access Rd.
            Baton Rouge, LA 70802




                                                      Page 5 of 6
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                ROKESHIA GUILLORY                                             14™ JUDICIAL DISTRICT COURT

                VS. NO. JtQ/?- 0/4?#                                         PARISH OF CALCASIEU

                                                                      *
                COURTNEY HAWKINS, EZ WORLDWIDE
                EXPRESS, UNITED BUSINESS FREIGHT
                                                                      *
                FORWARDERS, LLC and                                          STATE OF LOUISIANA
                HARTFORD FIRE INSURANCE COMPANY



                FILED:         JAN 1 0 2019                                  DY CLERK:



                PARISH OF CALCASIEU
                                                                             VERIFICATION
                STATE OF LOUISIANA


                        BEFORE ME, the undersigned Notary Public, personally came and appeared



                                                         ROKESHIA GUILLORY

                   who, after being duly sworn, did depose and state:

                        THAT she is the petitioner in the attached Petition for Damages and Request for Trial by

                   Jury;

                        THAT she has read the Petition and all of the facts and information is correct-to the best

                   of her knowledge and belief.



                                                               fflokj&Wflv cjMJU
                                                               ROKESHIA GUILLOIfS—




                        SWORN TO AND SUBSCRIBED BEFORE ME, Notary Public, on this -7                       day of

                     J   thvyuarr"          j 20 If, at Lake Charles, Louisiana.




                                                        !D W. SHUMAKER, Notary Public
                                                          BAR ROLL NO. 37872




                                                                                                                     I. <••<*}
                                                                                                             » «•




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